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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                            CASE NO.


     PAULINA PINEIRA,

             Plaintiff,

     v.

     BLUESTEM ENTERPRISES, INC.
     d/b/a FINGERHUT and
     BERMAN & RABIN, P.A.

           Defendants.
     _________________________________________/

                                             COMPLAINT
                                            JURY DEMAND

             1.          Plaintiff alleges violation of the Telephone Consumer Protection Act, 47

     U.S.C. §227, et seq. (“TCPA”), the Fair Debt Collections Practices Act, 15 U.S.C. §1692

     et seq. (“FDCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §

     559.55 et. seq. (“FCCPA”).

                                     JURISDICTION AND VENUE

             2.          This Court has jurisdiction under 28 U.S.C. §1331 and 47 U.S.C. §227 and

     Mims v. Arrow Fin. Servs. LLC, 132 S. Ct. 740 (U.S. 2012) and 15 U.S.C. § 1692k as

     this is a civil action arising under the laws of the United States.

             3.          Venue in this District is proper because Plaintiff resides here and

     Defendant, BLUESTEM ENTERPRISES, INC, d/b/a Fingerhut (“BSE” “Bluestem”) and

     Defendant, Berman & Rabin, PA (“B&R” or “Berman”), collectively (“Defendants”) do

     business in this district and Defendants placed phone calls, and sent letters to the Plaintiff

     in this district.



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             4.      This Court has supplemental jurisdiction under 28 U.S.C. 1367 to hear and

     decide any related state law issues.

                                              PARTIES

             5.      Plaintiff, PAULINA PINEIRA (“Plaintiff”), is a natural person, and

     citizen of the State of Florida, residing in Broward County, Florida.

             6.      Plaintiff is the sole user, possessor, subscriber, and operator of the cellular

     telephone, ###-###-3554 that Defendants were calling.

             7.      B&R is a debt collector that uses, among other things, an automated

     telephone dialing system to engage in debt collection and operates from offices located at

     15280 Metcalf Ave. Overland Park, KS 66223; Plaintiff further alleges that B&R is a

     citizen of the state of Kansas.

             8.      Bluestem Enterprises, Inc. d/b/a Fingerhut is a consumer retailer that uses,

     among other things, an automated telephone dialing system (“ATDS”) to collect on past

     invoices and/or credit.

             9.      B&R regularly uses the mail and telephone in a business the principal

     purpose of which is the collection of debts.

             10.     B&R regularly collects or attempts to collect debts for other parties.

             11.     B&R is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

     1692a(6).

             12.     B&R is a “debt collector” as defined by the FCCPA, and is registered as a

     consumer collection agency with the Florida Office of Financial Regulation.

             13.     B&R was acting as a debt collector with respect to the collection of

     Plaintiff’s alleged debt.




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            14.     Plaintiff is a “consumer” as defined by Florida Statute §559.55(2).

            15.     Defendants, Bluestem and B&R are subject to the provisions of Fla. Stat.

     §559.72 because said section applies to “any person” who collects or attempts to collect a

     consumer debt as defined in Fla. Stat. §559.55(1).

            16.     Defendant, Bluestem, is a corporation with its principal place of 6509

     Flying Cloud Dr. Suite 300, Eden Prairie, MN 55344. Plaintiff further alleges that

     Bluestem is a citizen of the state of Minnesota.

            17.     Defendant, Bluestem, is a “creditor” as defined in the FCCPA Florida

     Statute 559.55(3)

            18.     The debt that is the subject matter of this complaint is a “consumer debt”

     as defined by Florida Statute §559.55(1).

            19.     Defendant, Bluestem, was acting as a debt collector with respect to the

     collection of Plaintiff’s alleged debt.

            20.     Defendant, Bluestem, regularly collects or attempts to collect debts for

     consumer credit services.

            21.     Plaintiff accrued a debt with Bluestem, which was primarily for

     household, personal or family purposes.

            22.     Because Bluestem is the creditor on whose behalf B&R placed the calls,

     each are jointly and severally liable to Plaintiff with respect to the alleged violations of

     the TCPA. The Federal Communications Commission has held: “Similarly, a creditor on

     whose behalf an autodialed or prerecorded message call is made to a wireless number

     bears the responsibility for any violation of the Commission’s rules.” FCC, IN THE

     MATTER OF RULES AND REGULATIONS IMPLEMENTING THE TELEPHONE




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     CONSUMER PROTECTION ACT OF 1991: REQUEST OF ACA INTERNATIONAL

     FOR CLARIFICATION AND DECLARATORY RULING, 07-232, ¶10, (2007), (“FCC

     RUL. 07-232”).

                                    FACTUAL ALLEGATIONS

                23.   On or about October 1, 2014, Plaintiff purchased personal and household

     goods from Bluestem.

                24.   Subsequently, Plaintiff incurred a debt with Bluestem. Said debt was

     incurred in transactions made for primarily personal, household, or family purposes.

                25.   Shortly thereafter, Plaintiff began to receive automated telephone calls on

     her cellular telephone from the Bluestem attempting to collect a debt from Plaintiff.

                26.   Upon answering any of these calls, the Plaintiff was greeted by pre-

     recorded message, artificial voice, and/or a noticeable period of “dead air” while the

     caller’s telephone system attempted to connect the Plaintiff to a live operator.

                27.   On at least two occasions, Plaintiff demanded that the Defendants stop

     calling.

                28.   On or about August 21, 2015, Plaintiff simultaneously received letter(s)

     from Bluestem attempting to collect (hereinafter “letters”) on Plaintiff’s unpaid balance

     of $824.61.

                29.   Bluestem subsequently sold and assigned said debt to B&R, a foreign

     limited liability company.

                30.   On September 7, 2015, seventeen (17) day later, B&R sent Plaintiff a

     dunning letter referencing her Bluestem account number “0605” attempting to collect a

     consumer debt on behalf of Bluestem in the amount of $878.86 (at least $50.00 more).




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            31.     The Debt arose from services, which were primarily for family, personal

     or household purposes and which meets the definition of a “debt” under 15 U.S.C.

     §1692a(5).

            32.     Simultaneously, Defendants, B&R acting on behalf or at the request of

     Bluestem, attempted to communicate with Plaintiff on her cellular telephone with pre-

     recorded messages and/or using an Automatic Telephone Dialing System (“ATDS”).

            33.     The phone calls placed by Defendant, B&R, were “communications” as

     defined by 15 U.S.C 1692a(2). See Baker v. Allstate Fin. Servs., Inc., 554 F. Supp. 2d

     945 (D. Minn. 2008); Berg v. Merchs, Ass’n Collection Div., Case No. 08-60660-Civ-

     Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

            34.     Upon answering any of these calls from Berman & Rabin, the Plaintiff

     was greeted by pre-recorded message, artificial voice, and/or a noticeable period of “dead

     air” while the caller’s telephone system attempted to connect the Plaintiff to a live

     operator.

            35.     Despite Plaintiff repeatedly instructing both Defendants to cease their

     phone calls, Defendants continued to call Plaintiff’s cellular telephone.

            36.     None of Defendants telephone calls placed to Plaintiff were for

     “emergency purposes” as specified in 47 U.S.C § 227 (b)(1)(A).

            37.     Defendants willfully or knowingly violated the TCPA.

                                COUNT I
          VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT
                        REGARDING THE BLUESTEM

            38.     Plaintiff incorporates Paragraphs 1 through 37.




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            39.     Defendant Bluestem, or others acting at its request, placed non-emergency

     telephone calls to Plaintiff’s cellular telephone using an automatic telephone dialing

     system or pre-recorded or artificial voice violation of 47 U.S.C § 227 (b)(1)(A)(iii).

            WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

            Plaintiff and against Defendants, Bluestem for:

                    a.      Damages;

                    b.      a declaration that Defendants calls violate the TCPA;

                    c.      a permanent injunction prohibiting Defendants from placing non-

                            emergency calls to Plaintiff’s cellular telephone using an automatic

                            telephone dialing system or pre-recorded or artificial voice; and

                    d.      Such other or further relief as the Court deems proper.

                               COUNT II
        THE FLORIDA CONSUMER COLLECTION PRACTICES ACT AGAINST
                              BLUESTEM

            40.     Plaintiff incorporates Paragraphs 1 through 37.

            41.     In collecting consumer debts, no person shall… willfully communicate

     with the debtor or any member of her or his family with such frequency as can reasonably

     be expected to harass the debtor or her or his family, or willfully engage in other conduct

     which can reasonably be expected to abuse or harass the debtor or any member of her or

     his family.

            42.     Defendant’s persistent and unlawful calling campaign was carried out with

     the intent to abuse and harass the Plaintiff. Specifically, the Plaintiff repeatedly requested

     for the telephone calls to stop, but Bluestem continued to call.




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            43.      Pursuant to Florida law, Plaintiff may obtain declaration that Defendant’s

     practices are in violation of the FCCPA, including but not limited to Fla. Stat. §§

     559.72(7), §§ 559.72(9), 559.72(18).

            44.      The FCCPA provides for equitable relief including injunctive relief. Berg

     v. Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345, (S.D. Fla. 2008).

            45.      Plaintiff is also entitled to recover statutory damages and/or actual

     damages pursuant to the FCCPA.

            WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

     Plaintiff and against Defendants, Bluestem, for:

                  a. Damages, both statutory and actual;

                  b. Declaring that Defendant’s practices are in violation of the FCCPA;

                  c. Permanently enjoining Defendant and any other parties from calling

                     Plaintiff regarding the alleged debt;

                  d. Attorney's fees, litigation expenses and costs of suit; and

                  e. Such other or further relief as the Court deems proper.

                                COUNT III
          VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT
                      REGARDING BERMAN AND RABIN

            46.      Plaintiff incorporates Paragraphs 1 through 37.

            47.      Defendant Bluestem, or others acting at its request, placed non-emergency

     telephone calls to Plaintiff’s cellular telephone using an automatic telephone dialing

     system or pre-recorded or artificial voice violation of 47 U.S.C § 227 (b)(1)(A)(iii).

            WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

            Plaintiff and against Defendants, Bluestem for:




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                    a.      Damages;

                    b.      a declaration that Defendants calls violate the TCPA;

                    c.      a permanent injunction prohibiting Defendants from placing non-

                            emergency calls to Plaintiff’s cellular telephone using an automatic

                            telephone dialing system or pre-recorded or artificial voice; and

                    d.      Such other or further relief as the Court deems proper.

                              COUNT IV
        THE FLORIDA CONSUMER COLLECTION PRACTICES ACT AGAINST
                           BERMAN & RABIN

            48.     Plaintiff incorporates Paragraphs 1 through 37.

            49.     In collecting consumer debts, no person shall… willfully communicate

     with the debtor or any member of her or his family with such frequency as can reasonably

     be expected to harass the debtor or her or his family, or willfully engage in other conduct

     which can reasonably be expected to abuse or harass the debtor or any member of her or

     his family.

            50.     Defendant’s persistent and unlawful calling campaign was carried out with

     the intent to abuse and harass the Plaintiff. Specifically, the Plaintiff repeatedly

     requested for the telephone calls to stop, but B&R continued to call.

            51.     Pursuant to Florida law, Plaintiff may obtain declaration that Defendant’s

     practices are in violation of the FCCPA, including but not limited to Fla. Stat. §§

     559.72(7), §§ 559.72(9), 559.72(18).

            52.     The FCCPA provides for equitable relief including injunctive relief. Berg

     v. Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345, (S.D. Fla. 2008).




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            53.      Plaintiff is also entitled to recover statutory damages and/or actual

     damages pursuant to the FCCPA.

            WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

     Plaintiff and against Defendants, B&R, for:

                  a. Damages, both statutory and actual;

                  b. Declaring that Defendant’s practices are in violation of the FCCPA;

                  c. Permanently enjoining Defendant and any other parties from calling

                  Plaintiff regarding the alleged debt;

                  d. Attorney's fees, litigation expenses and costs of suit; and

                  e. Such other or further relief as the Court deems proper.

                                     COUNT V
                VIOLATION OF THE FDCPA AGAINST BERMAN & RABIN
                               15 U.S.C.§1692 et. seq.

            54.    Plaintiff incorporates Paragraphs 1 through 37.

            55. The Defendant, B&R conduct violated 15 U.S.C. § 1692d in that Defendants

     engaged in behavior the natural consequence of which was to harass, oppress, or abuse

     the Plaintiff in connection with the collection of a debt.

            56. The Defendant, Berman, conduct violated 15 U.S.C. § 1692d(5) in that

     Defendants caused a phone to ring repeatedly and engaged the Plaintiff in telephone

     conversations, with the intent to annoy and harass. See Dunning v. Portfolio Recovery

     Associates, LLC, 903 F.Supp.2d 1362 (S.D.Fla.2012).               Specifically, the Plaintiff

     repeatedly requested for the telephone calls to stop, but B&R continued to call.

            WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

            Plaintiff and against Defendant, BERMAN for:




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                       a.     Damages;

                       b.     Attorney’s fees, litigation expenses and costs of suit; and

                       c.     Such other or further relief as the Court deems proper.

                                COUNT VI
         VIOLATION OF FDCPA AGAINST BERMAN & RABIN 15 U.S.C. §1692f
        THE USE OF UNFAIR OR UNCONSCIONABLE MEANS TO COLLECT A
                                  DEBT

                57. Plaintiff incorporates Paragraphs 1 through 37.

                58. The Defendant, Berman and Rabin, violated 15 U.S.C 1692f provision which

     prohibits unfair or unconscionable means of collection by collecting an amount that was

     not expressly authorized by the agreement creating the debt or permitted by law. See

     Bradley v. Franklin Collection Serv. Inc., 793 F. 3d.606 (11th Cir. 2014). Specifically,

     Berman attempted to collect more money or fees from Plaintiff, which was incidental to

     the alleged debt owed.

                59. Additionally, B&R attempted to collect the debt by calling the Plaintiff

     simultaneously with Bluestem even though Plaintiff asked both defendants to stop

     calling.

                WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

                Plaintiff and against Defendant, Berman and Rabin for:

                       a.     Damages;

                       b.     Attorney’s fees, litigation expenses and costs of suit; and

                       c.     Such other or further relief as the Court deems proper.

                                 COUNT VII
             VIOLATION OF THE FDCPA AGAINST BERMAN & RABIN
         FALSE REPRESENTATION OR DECPTIVE MEANS TO COLLECT OR
                      ATTEMPT TO COLLECT A DEBT
                            15 U.S.C.§1692 et. seq.



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            60. Plaintiff incorporates Paragraphs 1 through 37.

            61. The 15 U.S.C. § 1692e prohibits Defendant from using “any false, deceptive,

     or misleading representation or means in connection with the collection of any debt.

            62. The Defendant, Berman, conduct violated 15 U.S.C. § 1692e(10) in that “the

     use of any false representation or deceptive means to collect or attempt to collect any

     debt or to obtain information concerning a consumer. Specifically, B&R and Bluestem

     simultaneously called the Plaintiff attempting to collect multiple debts or confusing the

     consumer that multiple debts existed.

            WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

     Plaintiff and against Defendant, BERMAN for:

                    a.     Damages;

                    b.     Attorney’s fees, litigation expenses and costs of suit; and

                    c.     Such other or further relief as the Court deems proper.

                                                JURY DEMAND

             Plaintiff demands trial by jury.

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